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VIA ECF
                                                                     August 19, 2022
Honorable Lorna G. Schofield
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007

                  Re: Network Data Rooms, LLC v. Saulrealism LLC et al (22-cv-02299-LGS)
                      Response to Document No. 78
    Your Honor:


           Please be reminded that Goldberger & Dubin, P.C., represents the Defendants in this
    action, Saulrealism LLC, and Ryan Saul. This letter is in response to Plaintiff’s pre-motion
    conference request for sanctions. On August 17, 2022, counsel filed a consent letter application to
    stay the Civil Case Management Plan and Scheduling Order.

          Prior to submitting this letter, defense counsel proposed to Plaintiff’s filing a joint letter for
    a scheduling conference with the Court to resolve the numerous discovery issues for both parties.
    Defense counsel aimed to have a conference that would limit the already significant legal
    expenses for both parties in this action while still providing necessary discovery for both parties to
    prepare memoranda responsive to the Order to Show Cause.

            In this email, I acknowledged that Plaintiff’s counsel had potential spoilation arguments
    regarding Defendants’ hard drive. Conversely, the Defendants have numerous outstanding
    discovery demands that the Plaintiff has failed to produce, which are outlined in a three-page
    letter to confer sent to Plaintiff.

          Specifically, the Plaintiff has failed to produce emails from David Delorge from January
    14, 2022, through present, which is relevant to the pending OSC.1 Plaintiff is currently unable to
    produce these emails from David Delorge. Plaintiff has also failed to produce access to NDR’s

1
  Defendant Ryan Saul was terminated from employment on January 18, 2022. The fraudulent email submitted to
this Court was forwarded on March 1, 2022. Nicholas Fortuna writes: “I checked and the plaintiff is not in
possession of any other emails from David Delorge. Whatever emails we sent you we received directly from David
Delorge. There is an obvious legal conflict between the plaintiff and Delorge at this time. I am advising David
Delorge to get his own attorney.”
                                                                                                                  1
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               Microsoft Azure DevOps Account, a copy of the Virtual Machine used by the Defendant,
               rudimentary business incorporation and financial documents, any information regarding damages,
               or a copy of the source code. Plaintiff is currently asking for discovery sanctions including a
               default judgment, but has failed to produce the relevant discovery or move for a protective order.

                       Plaintiff’s counsel Nicholas Fortuna wrote, “You can prepare a letter requesting a hold on
               discovery until after the hearing and we will consent. I do not see a need for a status conference
               until after the hearing.” As a result of these communications, defense counsel filed the consent
               application to stay discovery.

                      As in customary in the normal course of discovery, both parties have outstanding discovery
               issues. Defense counsel presumed that Plaintiff was seeking to resolve any potential spoilation
               issues2 until after the Order to Show Cause hearing, which would determine if the matter would
               be terminated, and the statements made to the Court would be referred to the United States
               Attorney’s Office for the Southern District of New York. Plaintiff is unable to produce required
               discovery because the custodian of records is David Delorge. As such defense counsel was
               willing to wait until after the determination of the hearing.

                      The August 19, 2022 letter from Nicholas Fortuna is just a continuation of a pattern of
               aggressive, unprofessional, discourteous, and harassing behavior. Without going into the complete
               details, I would like to note that the factual elements regarding the production of the Defendants’
               drive in both Mr. Fortuna’s August 9th and August 19th letters are misleading. Moreover, I would
               like to clarify that Mr. Fortuna was finally able to communicate that his team successfully
               restored the hard drive from the image and that he required the password to the Microsoft
               Windows Operating System on August 10th at 2:27PM. He received the password on August 10th
               at 3:53PM.

                     Defendants’ position is that Plaintiff’s pre-motion conference letter is a frivolous filing
               subject to Rule 11 sanctions. Defendants would also like to have a pre-motion conference to
               discuss the outstanding discovery required to draft memoranda responsive to the OSC. Due to Mr.
               Fortuna’s harassing communications and misrepresentations to the Court, I have previously
               requested he communicate with me solely in writing, and he has disregarded that request.
               Defense counsel is amenable to participating in a conference.
By August 23, 2022, Defendants shall file a letter clarifying                      Respectfully submitted,
whether the requested image of Defendant Saul's hard drive,
or its functional equivalent, was made available to Plaintiff as a                 /s/Renee M. Wong
result of the restoration of the hard drive, including any files                   Renee Wong, Esq.
that may have been deleted.                                                        On behalf of Defendants
                                                                                   Goldberger & Dubin, P.C.
SO ORDERED.                                                                        Of Counsel

Dated: August 22, 2022
       New York, New York

           2
            Defendants do not agree that there was an obligation to preserve the hard drive, as the Defendants are contractually
           obligated to destroy any of Plaintiff’s information.
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